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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

JARROD JOHNSON, individually, and
on Behalf of a Class of persons similarly
Situated,

       Plaintiff,                           Civil Action No.:
                                            4:20-cv-00008-AT
v.

3M COMPANY, ET AL.,

       Defendants.




               DEFENDANTS’ PARTIAL MOTION TO DISMISS
               PLAINTIFF’S SECOND AMENDED COMPLAINT

     Defendants Milliken & Company; Arrowstar, LLC; The Dixie Group, Inc.; 3M

Company; E.I. DuPont de Nemours and Company; and The Chemours Company

here move pursuant to Fed. R. Civ. Proc. 12(b)(6) to dismiss Counts III, IV, and VI
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of Plaintiff’s Second Amended Complaint (“SAC”) for failure to state a claim,

based on the public services doctrine.1

    Respectfully submitted this 9th day of October 2020.

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1
  The defendants moving here have all also joined The Carpet Manufacturing
Defendants’ Motion to Dismiss Plaintiff’s Second Amended Complaint (Dkt. 300),
filed on separate grounds.
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                     CERTIFICATION UNDER L.R. 7.1.D.

         Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule

5.1.C.

                                      /s/ M. Russell Wofford, Jr.
                                      M. Russell Wofford, Jr.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing document

with the Clerk of Court by using the CM/ECF system, which automatically sends

e-mail notification of such filing to any attorneys of record.

      This 9th day of October 2020.

                                        /s/ M. Russell Wofford, Jr.
                                        M. Russell Wofford, Jr.
                                        Georgia Bar No. 773002




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